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                                  IN THE UNITED STATES COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                       MIDLAND DIVISION

T.F. b/n/f LEAH F. & TED F.,                    §
and LEAH F. & TED F., individually,             §
       Plaintiffs,                              §                       7:20-cv-215
                                                       Civil Action No. ____________
vs.                                             §
                                                §
GREENWOOD INDEPENDENT                           §
SCHOOL DISTRICT and EDWARD                      §
ARIEL ELLIOT, individually                      §
     Defendant.                                 §

                                 PLAINTIFFS’ ORIGINAL COMPLAINT

           T.F., by and through his next friends and natural parents, Leah F. & Ted F. and Leah F. &

Ted F, individually (collectively “Plaintiffs”), file this Original Complaint alleging that the

Greenwood Independent School District (“GISD”) and Edward Ariel Elliot, individually, violated

the various rights of T.F. as more specifically pled herein. Plaintiffs reserve the right to re-plead if

new claims and issues arise upon further development of the facts as permitted by law. In support

thereof, Plaintiffs submit the following:

                         I. INTRODUCTION & BRIEF OVERVIEW OF CASE

1.         During the 2018 – 2019 school year when T.F. was in the 8th grade, he was sexually

harassed and forcefully held down and sexually assaulted at least 5 times by other male students

(“the perpetrators”) at GISD.

2.         During the same approximate time period, the perpetrators sexually assaulted several other

male students in a similar manner.

3.         GISD failed to appropriately respond to the sexual harassment and sexual assaults. For

example, GISD failed to complete a Title IX1 investigation, failed to take appropriate action to



1
    20 U.S.C. §1681 et seq. (“Title IX”).

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keep T.F. safe, failed to remediate the effects of the sexual harassment and sexual assaults on T.F.,

and failed to provide to T.F.’s mother - Leah F. - and T.F.’s father - Ted F. - information regarding

the sexual assaults and harassment.

4.      In fact, not only did GISD fail to appropriately respond to the sexual harassment and sexual

assaults, but more than once GISD employees affirmatively and specifically forbade both the

victims and the perpetrators from discussing the sexual harassment and sexual assaults with

anyone.

5.      Moreover, GISD retaliated against Plaintiffs for asserting their rights pursuant to Title IX

by discontinuing the longstanding business relationship between GISD and Athletic Supply, Inc.,

a closely held corporation of which Ted F. owns a percentage.2

6.      These facts, combined with GISD’s resistance to filing a police report, GISD’s filing of an

inaccurate police report that failed to provide any names or even mention the sexual nature of the

incidents (referring to the incidents only as acts of hazing), and GISD’s failure to report the sexual

harassment and sexual assaults to the Department of Family Protective Services (“DFPS”)

demonstrate clearly GISD’s intention and repeated attempts to conceal the sexual harassment and

sexual assaults.

7.      Thereafter, due only to the diligence of T.F.’s parents in providing law enforcement and

the Midland County District Attorney with pertinent facts regarding the sexual assaults, 2 of the

perpetrators were criminally charged and adjudicated of criminal offences.

8.      As a result of GISD’s acts and omissions, Plaintiffs suffered injuries and damages.

9.      Accordingly, Plaintiffs bring forth claims pursuant to Title IX of the Education

Amendments of 1972, et seq., 42 U.S.C. §1983 and 1988; and the 14th Amendment.


2
 Athletic Supply, Inc was solely owned by Ted F.’s family until approximately March 2018 when it was sold to a
private equity company; Ted F. now owns a percentage of the company.

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10.     Accordingly, Plaintiffs request equitable, remedial, and compensatory damages pursuant

to the civil rights acts, including—but not limited to—damages for past and future emotional

anguish, compensatory services, loss of income, reimbursement for various out-of-pocket

expenses, costs of representation including attorneys’ fees and related taxable and non-taxable

costs, and other forms of equitable and compensatory relief that this Court may otherwise provide.

In addition, Plaintiffs seek punitive damages.

                                       II. JURISDICTION

11.     Jurisdiction is conferred upon this Court pursuant to 28 U.S.C.A. §1331 and 1343, because

the matters in controversy arise under the laws of the United States. In addition, jurisdiction is

conferred upon this Court pursuant to 20 U.S.C. §1681-1688, Title IX of the Education

Amendments of 1972, et seq., and the federal regulations issued thereunder. Further, Plaintiffs

assert claims pursuant to the 14th Amendment to the Constitution of the United States, 42 U.S.C.

§1983. In addition, this Court has jurisdiction to award Plaintiffs attorneys’ fees and costs pursuant

to 42 U.S.C. §1988 and punitive damages under §1983 and Title IX.

                                           III. VENUE

12.     Under 28 U.S.C. §1391, venue is proper before this Court because the events and omissions

giving rise to the Plaintiffs’ claims occurred in the Western District of Texas, Midland Division.

                                           IV. PARTIES

13.     T.F. lives with his parents, Leah F. and Ted F. at 5609 East County Road 97; Midland,

Texas 79706.

14.     Leah F. is an individual who lives with her husband Ted F. and her son T.F. at 5609 East

County Road 97; Midland, Texas 79706.




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15.        Ted F. is an individual who lives with his wife Leah F. and his son T.F. at 5609 East County

Road 97; Midland, Texas 79706.

16.        The Greenwood Independent School District (“GISD”) is a school district organized under

the laws of the State of Texas. At all times pertinent to this case, T.F. was a student at GISD. GISD

can be served through its superintendent Edward A. Elliot at 2700 FM 1379; Midland, Texas

79706. However, GISD’s attorney, Dennis J. Eichelbaum, graciously agreed to accept service by

email at deichelbaum@edlaw.com.

17.        GISD Superintendent Edward Ariel Elliot is an individual who, upon information and

belief, lives at 2308 South County Road 1120; Midland, Texas 79706. He can be served at home

or at his place of work at 2700 FM 1379; Midland, Texas 79706. However, Plaintiffs anticipate

that GISD’s attorney, Dennis J. Eichelbaum, will agreed to accept service by email at

deichelbaum@edlaw.com.

             V. INFORMATION ON TITLE IX – SEX-BASED DISCRIMINATION.

      A. Title IX - Law & Regulations

18.        Title IX provides, inter alia:

           No person in the United States shall, on the basis of gender, be excluded from

           participation in, be denied the benefits of, or be subjected to discrimination under

           any education program or activity receiving federal financial assistance.3

19.        Title IX’s purpose is to prevent bullying, harassment, sexual harassment, assault, and

sexual assault based upon sex, gender, or gender stereotypes and to remedy the effects of

discrimination based on sex, gender, or gender stereotypes.




3
    See 20 U.S.C. §§1681 - 1688.

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20.       Federal guidance requires school personnel understand their legal obligations to address

harassment based upon sex, gender, and gender stereotypes, and explains that these individuals are

in the best position to recognize and prevent such harassment, lessen harm to victims, and remedy

the effects of harassment.4

21.       In Davis v. Monroe County Board Of Education,5 the Supreme Court set forth the requisite

elements of a Title IX violation by a school for student-on-student sexual harassment: (1) the

student victim must be member of a protected class and be bullied, harassed, or assaulted because

of their membership in that class (e.g. based upon sex, gender, or gender stereotypes); (2) the

harassment is severe and pervasive such that the student victim experiences a deprivation of

educational opportunity; (3) the school was on notice of the harassment; and (4) the school was

deliberately indifferent to the harassment. In addition, the Supreme Court confirmed that a public-

school district has a threshold duty to investigate alleged sexual harassment in a timely manner, a

duty to prevent ongoing and future harassment of the student victim, and a duty to remedy the

effects of past harassment.

      B. GISD’s Policies & Procedures

22.       GISD has policies and procedures related to Student Welfare and protecting students from

Discrimination, Harassment, & Retaliation which address, inter alia, student-on-student sexual

harassment and assault. These policies define sexual harassment and set out reporting requirements

after an allegation of sexual harassment as well as GISD’s required investigatory procedures.

23.       GISD’s policies include specific examples of sexual harassment including, in pertinent

part, “sexual advances; touching intimate body parts or coercing physical contact that is sexual in




4
    See 62 Fed. Reg. 12034 [Mar. 13, 1997]).
5
    Davis v. Monroe County Board Of Education, 526 U.S. 629 (1999).

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nature; jokes or conversations of a sexual nature; and other sexually motivated conduct,

communications, or contact.”

24.     GISD’s policies further prohibit retaliation by a student or GISD employee against a

student alleged who makes a good faith report of sexual harassment. The policies include the

following examples of retaliation: threats, rumor spreading, ostracism, assault, destruction of

property, unjustified punishments, and unwarranted grade reductions.

25.     Pursuant to GISD’s policies and procedures, in response to an allegation of sexual

harassment, GISD is required to complete an investigation in a timely manner (generally less than

10 days), develop a written report, file the written report with the GISD Title IX coordinator, and

notify the victim’s family of the outcome of the investigation.

26.     GISD’s investigation report must address whether the prohibited conduct occurred, and the

student victim has the right to appeal this determination through GISD’s grievance procedures and

with the Office of Civil Rights of the U.S. Department of Education (“OCR”).

27.     Upon a determination of prohibited conduct, GISD is required to promptly respond with

appropriate disciplinary action, and GISD’s policies provide a non-exhaustive list of potential

corrective actions including, inter alia, provision of training and/or counseling to the victim,

school-wide implementation of a comprehensive education program, and follow-up inquiries to

assess the effectiveness of corrective actions.




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                                  VI. STATEMENT OF FACTS

28.      Plaintiffs incorporate by reference all above-related and below-related paragraphs with the

same force and effect as if herein set forth fully.

      A. T.F.

29.      T.F.’s birthday is in 2004, and he is currently 16 years of age. T.F. is male. At the time of

the sexual harassment and sexual assaults, T.F. was 14 years of age and in 8th grade at Greenwood

Brooks Middle School in GISD.

30.      T.F. resides with his parents, Leah F. and Ted. F.

31.      T.F. is very athletic and participates in numerous sports at GISD. He is an avid

outdoorsman and loves to hunt, fish, golf, wake surf, and snow ski. T.F. enjoys spending time with

his family and friends, and he is always ready to play a game of dominoes with his grandparents.

T.F. has been a member of “Air it Out”—a football leadership academy—for 3 years and attends

the academy’s workshops several times per year. He adores children and finds opportunities to

help them cultivate the same love for sports that he has.

32.      During a significant period of time that forms the basis of this Complaint, T.F. was a

student in GISD.

      B. The Sexual Assaults.

33.      From approximately November 29, 2018 through January 14, 2019, T.F. was violently and

repeatedly sexually assaulted by other male students (collectively the “perpetrators”) while at

GISD.

34.      The perpetrators consisted of one primary perpetrator (the “main perpetrator”) who was

involved in every sexual assault and a core group of male students whose job was to restrain T.F.

while the main perpetrator sexually assaulted him.



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35.     During each assault, the perpetrators would forcefully grab T.F. and shove his body to the

ground where they would physically and forcefully restrain him as he attempted to escape. Then

the main perpetrator would pull down his shorts or pants and underwear and crouch down and

press his anus onto T.F.’s face directly over his nose and mouth, making skin-to-skin contact. If

T.F. attempted to turn his head away so that his face would break contact with the main

perpetrator’s flesh, the other perpetrators would forcefully grab T.F.’s head and hold it in place

while he was sexually assaulted.

36.     During the first sexual assault to T.F, the main perpetrator pressed his anus onto T.F.’s face

for approximately 30 seconds, but the duration increased with each successive assault. Sometimes

the main perpetrator would press his anus against T.F.’s nose and mouth to the point where T.F.

was unable to breathe.

37.     After the first sexual assault, when T.F. saw the perpetrators in the GISD locker room, he

would immediately try to leave to avoid being sexually assaulted. However, the perpetrators would

follow T.F. to the door, grab him, and forcefully drag him back to be sexually assaulted.

38.     Also, during the same approximate time period, the perpetrators sexually assaulted several

other male GISD students in a similar manner. Upon information and belief, there were a total of

7 victims of these sexual assaults.

39.     The sexual assaults occurred multiple times, in multiple locker rooms and busses, and in

multiple cities.

40.     Each sexual assault occurred on a GISD campus, at a GISD sponsored event, or while

traveling on GISD transportation to or from a GISD sponsored event.

41.     During each sexual assault, the students were unsupervised.




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        C.       The Sexual Assaults Are Reported

42.     On or about January 17, 2019, a male GISD student reported that other male GISD students

sexually assaulted another male GISD student during a bus trip for a school basketball game. Upon

information and belief, this student victim was restrained by more than one of the perpetrators

while the main perpetrator struck the victim’s face with his penis.

43.     Based on the sheer number of sexual assaults that took place during the time period at issue

as well as the fact that there were multiple victims, Plaintiffs contend that GISD had notice or – at

the very least - should have been on notice of the ongoing incidents of sexual assault prior to

January 17, 2019.

44.     On or about the evening of January 17, 2019, GISD Coach Larry Galindo placed a phone

call to T.F. regarding the reported bus incident. During that call, T.F. told Coach Galindo about

the numerous sexual assaults to male GISD basketball team players, including himself.

45.     On or about January 18, 2019, GISD summoned the male basketball players and separately

questioned them regarding the sexual assaults. Several of T.F.’s teammates provided written

statements detailing numerous sexual assaults by the perpetrators. Upon information and belief, at

least one of the perpetrators confessed to committing the acts of sexual harassment and sexual

assault in his statement.

46.     GISD administrators - including Principal John Paul Huber, Assistant Principal Jennifer

Ruiz, Assistant Principal Jayme Tedder, former Athletic Director Jarod Sanderson, Coach Kendall

Thomas, Coach Galindo, and GISD Police Chief Mitch Russell - reviewed the students’ statements

and specifically instructed these students – including both victims and perpetrators – to refrain

from speaking about the sexual assaults.




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47.     Thereafter, at about 11:00 AM that day, AP Tedder used T.F.’s cell phone to call T.F.’s

father – Ted. F. – and explained to him that there was an “issue” related to an assault of a sexual

nature and asked for T.F.’s parents to come to the school.

48.     When T.F.’s parents arrived at the school, they immediately inquired as to whether GISD

contacted law enforcement; GISD administrators replied that they had not, and that GISD had only

contacted their attorney. They further explained that they wanted to speak with the parents of the

students involved before contacting law enforcement – presumably to gauge the parents’ reactions

to the situation to determine whether dissemination of the events could be prevented.

49.     When T.F.’s parents advised they themselves would contact law enforcement if GISD

continued to refuse, GISD administrators reluctantly agreed to call the sheriff’s office, and Officer

Russell excused himself, ostensibly to make the call.

50.     In addition, no one from GISD ever contacted the Department of Family Protective

Services (“DFPS”) on behalf of any of the student victims which is a direct violation of

§261.101(b) of the Texas Family Code.

51.     On or about January 22, 2019, AP Tedder gathered T.F. and the other basketball students

and again instructed them to remain silent about the sexual harassment and sexual assaults; AP

Tedder explained “[w]e don’t want this getting out.”

52.     On or about January 25, 2019, T.F.’s parents spoke with Officer Fuentes and Officer Flores

of the Midland County Sherriff’s Office. These officers explained to T.F.’s parents that the police

report made by GISD Officer Russell included no names (no names of any victims and no names

of any alleged perpetrators), no details of the acts reported, and the report had characterized the

incidents as “hazing”. Moreover, the GISD police report provided no indication that the incidents




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were sexual in nature. As such, Officer Russell clearly filed the incident report in this manner to

intentionally avoid any investigation by the sheriff’s office.

53.       Due to the inaccurate and incomplete report made by GISD, T.F.’s parents provided a

statement to sheriff’s office. The officers at the sheriff’s office stated to T.F.’s parents that the

events they described were not included in the report made by GISD, and that GISD’s report

simply and vaguely stated that there had been a hazing incident at GISD.

54.       On or about January 31, 2019, T.F. submitted to a forensic interview with the Midland

Rape Crisis & Child Advocacy Center. Midland County Sergeant Steve Skaggs met with T.F.’s

parents after the interview and specifically commented that the sexual assaults were 2nd degree

felonies.

55.       On or about February 6, 2019, Leah F. attended a regular gathering at the home of a GISD

school board member and his family. The wife of the school board member approached Leah F.

during the gathering and stated that she was sorry T.F. was involved in the incident and commented

“boys will be boys” – a sentiment often used to normalize males being violent, aggressive, and

predatory. Leah F. was upset and did not return to the regular gatherings thereafter. These

statements by the wife of a school board member clearly show that (1) the school board member

at issue improperly disseminated private and FERPA6 protected information and (2) that the sexual

assaults had been trivialized by the GISD school board due to the fact that they were perpetrated

by male students on male students.

56.       In or about February 2019, one of the other student victims submitted to a forensic

interview with Midland Rape Crisis & Child Advocacy Center. However, 2 of the student victims




6
    Family Education Rights & Privacy Act

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declined to submit to forensic interviews – likely due to fear of retaliation by GISD in light of

GISD’s repeated directives to the students to refrain from speaking of the sexual assaults.

57.      On or about March 8, 2019, while on the GISD campus, the 2 criminally charged

perpetrators were arrested and detained by the Midland County Sheriff’s Office.

58.      On or about March 18, 2019, during a conversation in which he admitted that the school

"did some things wrong" in their handling of the situation, AP Tedder advised T.F. that he would

change the class schedule of the main perpetrator so that T.F. would not have to share classes with

his assailant. However, GISD failed to implement this change.

59.      On or about March 28, 2019, another GISD student victim confided in T.F. that AP Tedder

and GISD Counselor Heather Brown escorted him to the school’s main office where Officer

Russell spoke with him alone. Officer Russell attempted to convince the student victim to keep

quiet about the sexual assaults and made statements such as “everything [was] over” and “[his]

voice wouldn’t matter to the case” and that “[his] parents should agree that [his] voice wouldn’t

matter”.

60.      In addition, this student victim explained to T.F. that he did not want to report anything

about the sexual assaults, because he was afraid the assaults would worsen. He stated to T.F. that

he knew GISD would not take any action to protect him. Both students stated their opinions that

GISD did not take these types of incidents seriously and that GISD was far more concerned with

the hair/dress code7 than with taking appropriate action to ensure student safety.

61.      In or about April 2019, T.F. began counseling sessions at the Midland Rape Crisis & Child

Advocacy Center, and he missed school due to the counseling sessions.




7
  This part of the students’ conversation is in reference to a strictly enforced dress code policy implemented by GISD
that was alleged to be racially discriminatory.

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62.     On or about May 10, 2019, Leah F. and Ted F. met with Sheriff Gary Painter and Chief

Deputy Rory McKinney of the Midland County Sheriff’s office to provide information regarding

the sexual assaults. Both Sheriff Painter and Deputy McKinney agreed that the incidents were not

only serious in nature, but severe.

63.     On or about June 3, 2019, Leah F. met with Superintendent Edward A. Elliot - the

designated Title IX Coordinator – about the sexual assaults. During that meeting, Leah F. read

aloud a letter from T.F.’s therapist that included explicit details of the sexual assaults on T.F., and

she left a copy of the letter with Superintendent Elliot.

64.     In addition, Leah F. told Superintendent Elliot that T.F. was very uncomfortable at the

thought of being in a locker room with the main perpetrator and was still attending

therapy/counseling sessions due to the sexual assaults. She explained that GISD had done nothing

to protect T.F. from future sexual assaults.

65.     Leah F. also attempted to confirm that Superintendent Elliot was the GISD Title IX

Coordinator. In response, Superintendent Elliot was uncertain of whether he was in fact the GISD

Title IX Coordinator and stated “[t]hat’s a good question. . . .”, and he advised he would “check

on that”. At that time and presently, the GISD policies and procedures list Superintendent Elliot

as the GISD Title IX Coordinator.

66.     On or about June 15, 2019, T.F.’s parents submitted to Superintendent Elliot a formal Title

IX complaint regarding the sexual harassment and multiple sexual assaults to T.F.

67.     On or about on June 18, 2019, Superintendent Elliot responded to the Title IX complaint

by letter and advised that the matter was already investigated in January 2019 and turned over to

law enforcement. Superintendent Elliot failed to mention whether GISD completed a Title IX

investigation, nor did he provide any details regarding the outcome of any investigation.



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68.     On August 8, 2019, the Midland County District Attorney’s Office notified GISD of

criminal charges against 2 of the perpetrators - both GISD students at that time.

69.     In or about August 2019, T.F.’s football locker was assigned directly beside one of the

criminally charged perpetrators and only a few lockers away from the main perpetrator’s locker

(who was also criminally charged), sandwiching his locker between 2 of his assailants.

70.     On or about September 12, 2019, Sergeant Steve Skaggs notified GISD of the resolution

of the charges against one of the 2 perpetrators charged.

71.     On or about December 2019, the GISD football team traveled to a playoff game, and GISD

coaches designated hotel room assignments (4 football players per room). A fellow GISD parent

whose son was assigned to the same hotel room as the main perpetrator contacted Leah F. about

the situation, and Leah F. confirmed that the main perpetrator was charged with a felony in or

about August 2019.

72.     The other parent then contacted the GISD Athletic Director8 via text message and inquired

whether there would be adult supervision at all times in her son’s hotel room and, if not, she

advised that she did not want her son to share a hotel room with the main perpetrator. The GISD

Athletic Director responded via text message: “We can change that up, I apologize, most of the

high school coaches know very little about the incidents from last year.”

73.     The hotel room assignments were modified and the perpetrator and the son of the other

parent were separated. However, upon information and belief, the perpetrator was simply switched

to a different room with other players without notifying their parents.




8
 Of note, this GISD Athletic Director began employment with GISD in his role as athletic director in or about March
2019.

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D.      The Criminal Proceeding

74.     On March 16 – 17, 2020, there was a juvenile hearing regarding the charges against the

main perpetrator at the Midland County Courthouse in front of Judge K. Kyle Peeler. The main

perpetrator pled “true” to the offence of Unlawful Restraint of a child under 17, and the hearing

was for determination of sanctions.

75.     Several people testified, including T.F. and Leah F. T.F. was the victim listed for the case.

76.     At the criminal proceeding, T.F. testified, in pertinent part, that the main perpetrator was

the “leader” of the group of students who sexually assaulted him and his teammates. T.F. further

testified that he would try to escape from the perpetrators to get somewhere with adult supervision.

He also testified that it was common for no adults to be present in the locker rooms, and that he

attempted to use the locker rooms at specific times to avoid the perpetrators.

77.     In addition, Cori Armstead, the mother of a former GISD student, testified at the criminal

proceeding about how her son was incessantly bullied by the main perpetrator during the 2017-

2018 school year. She testified that the bullying by the main perpetrator began with name-calling

and progressed to physical assaults. She further testified that she reported the bullying multiple

times, but GISD did nothing to stop it, and that she withdrew her son from GISD due to the bullying

and the effects of same in or about August 2018 – prior to her son’s 8th grade school year.

78.     Thereafter, the main perpetrator was adjudicated of the felony offense of Unlawful

Restraint of a child under 17, and he received 1-year probation, 1-year deferred sex offender status,

and mandatory counseling.

79.     On or about March 17, 2020, the Midland County District Attorney notified GISD of the

adjudication of the main perpetrator and the sanctions imposed.




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E.         GISD Retaliates

80.        On or about May 19, 2020, the family’s attorney9 sent to GISD a letter of representation

outlining the various violations by GISD, including violations of Title IX and constitutional

violations actionable under Section 1983 of the Civil Rights Acts of 1964. Therein, the family’s

attorney stated the family’s intention to file a lawsuit against GISD based on such violations.

81.        On or about May 22, 2020, the GISD Athletic Director contacted Ted F. and requested a

business meeting. This request was not unusual as GISD had purchased athletic equipment from

Athletic Supply, Inc. – a closely held corporation of which Ted F. owns a percentage - for

approximately 40 years, and the GISD AD and GISD head coaches are primarily responsible for

orders on behalf of GISD.

82.        That night the GISD Athletic Director went to Leah F.’s and Ted F.’s home for the business

meeting he requested.

83.        During that meeting, the GISD Athletic Director stated to Leah F. and Ted F. that

Superintendent Elliot told him that it was in his “best interest” to discontinue GISD’s established

practice of purchasing athletic equipment from Athletic Supply, Inc.

84.        Also, during that meeting, the GISD Athletic Director stated his belief that Superintendent

Elliot told him to discontinue purchasing GISD equipment from Athletic Supply, Inc. as a direct

result of Plaintiffs’ notification to GISD that they intended to pursue legal action against GISD

pursuant to Title IX and other laws and regulations.

85.        The GISD Athletic Director further explained to Leah F. and Ted F. during that meeting

that he had not been told by GISD administrators or anyone else about the sexual assaults to T.F.,

was “in the dark” regarding the matter, and – as a result – he did nothing in response to same.



9
    The undersigned attorney.

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86.        Upon information and belief, Plaintiffs submit that Superintendent Elliot also approached

other GISD personnel and advised them to discontinue conducting business with Athletic Supply,

Inc. on behalf of GISD.

87.        Since May 22, 2020, GISD has placed no new orders with Athletic Supply, Inc.

88.        Upon information and belief, due to Superintendent Elliot’s directive, GISD personnel

sought and/or began purchasing equipment - customarily purchased from Athletic Supply, Inc. for

many years - from companies other than Athletic Supply, Inc.

89.        In addition, since May 22, 2020, GISD personnel who had been in regular communication

with salesmen at Athletic Supply, Inc. began avoiding communication with Athletic Supply, Inc.

salesmen regarding equipment orders and services other than to indicate they were instructed to

purchase equipment from companies other than Athletic Supply, Inc.

F.         Beginning of the 2020-2021 School Year

90.        Due to the COVID-19 pandemic, many schools are currently permitting students the option

to receive education via online/virtual leaning for the 2020-2021 school year.

91.        In response to the fact that many students are, in fact, opting for online/virtual leaning, the

University Interscholastic League (“UIL”) provided guidance regarding participation in face-to-

face extracurricular activities, including school athletic sports. Specifically, UIL explained that

“[s]tudents participating in remote learning offered by their school district . . . may participate in

UIL activities if they meet all other UIL eligibility requirements.”10

92.        Like many other schools, GISD students may opt to receive their education via

online/virtual leaning.



10
     See University Interscholastic League webpage at https://www.uiltexas.org/policy/covid-19.



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93.     Prior to the beginning of the 2020-2021 school year, GISD distributed to GISD

parents/guardians a document entitled “Greenwood ISD 2020-2021 Moving Forward” in which

GISD presented 2 options: Option 1: Ranger Nation Learning (face-to-face) and Option 2: Ranger

Remote Learning.

94.     Despite the UIL’s guidance permitting participation in extracurricular activities by

online/virtual students, this GISD document further provided “[s]tudents wishing to participate in

or attend extracurricular activities within the district must take part in the face-to-face instruction.”

As such, in order to play on GISD sports teams, including the varsity football team, T.F. was forced

to choose Option 1 (face-to-face) learning. In order to avoid contact with the main perpetrator as

much as possible, T.F. would have opted for online/virtual learning if he had been permitted to

participate in extracurricular activities.

95.     As set forth herein previously, T.F. is quite athletic and participation in team sports is very

important to him. In fact, as a sophomore in high school, he is currently the starting quarterback

for the GISD Varsity football team.

96.     Abhorrently, GISD placed T.F. in an elective class – one that he did not specially choose

– with the main perpetrator, the individual who repeatedly sexually assaulted him and several other

of his teammates.

97.     Soon after school began this school year, Leah F. and Ted F. noticed that T.F.’s mood was

drastically worsening. T.F. was angry and irritable, especially after coming home from school, and

he appeared depressed. T.F. and Ted. F. began to have arguments due to the changes in T.F., and

T.F ultimately told Ted F. that he had been placed in a class with the main perpetrator which was

negatively affecting him. T.F. was angry and hurt that GISD continued to fail to protect him.




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G.      General Summary of GISD’s Acts & Omissions

98.     GISD continues to refuse to take appropriate actions in response to the sexual harassment

and sexual assaults of T.F.

99.     GISD failed and refused to remediate the effects of the sexual harassment and sexual

assaults on T.F.; never offered or conducted a psychological evaluation for T.F., never offered T.F.

counseling services, and never implemented a safety plan to keep T.F. safe at school.

100.    In fact, no one from GISD even approached T.F. to determine his needs as a result of being

being repeatedly and forcefully sexually assaulted at school.

101.    To the contrary, GISD repeatedly attempted to bully T.F. and the other student victims into

staying quiet about the sexual harassment and sexual assaults.

102.    GISD failed and refused to complete a Title IX investigation, failed to provide to T.F.’s

parents the outcome of any investigation, and failed to permit them to appeal any such outcome.

103.    From the beginning, GISD administrators repeatedly attempted to minimize and conceal

the sexual assaults.

104.    GISD administrators forbade GISD students from speaking about the sexual assaults on

multiple occasions, resisted and attempted to avoid their duty to make a police report, and only

reported the matter to law enforcement because T.F.’s parents’ stated that they themselves would

file a report if necessary.

105.    Moreover, when GISD administrators made the police report, they provided vague facts

with no victim or perpetrator names and no indication of the sexual nature of the assaults. They

also failed to report the matter to DFPS.




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106.    GISD administrators collectively mischaracterized the numerous sexual assaults at GISD

as “hazing” in an attempt to sterilize and minimize the egregious nature of the sexual assaults.11

107.    This inappropriate mischaracterization undermines the trauma suffered by T.F.

108.    It is unlikely GISD administrators would have referred to violent sexual assault of a female

student as “hazing”. Specifically, if the main perpetrator and the other perpetrators had instead

preyed on same-aged female GISD students – approaching these females in their own locker room,

forcefully grabbing these females and throwing them to the floor where at least 2 male perpetrators

would restrain them while they struggled to break free and hold their heads in place while the

main perpetrator removed his shorts and underwear, crouched over these females’ faces, and

pressed his anus into their noses and mouths making it difficult for them to breathe, it is highly

improbable that GISD administrators would have dared to refer to these acts as “hazing”.

Certainly, these violent acts are not hazing.

109.    By inappropriately categorizing the sexual assaults as hazing, GISD sent the message that

egregious acts of sexual violence are innocuous or even traditional for school-aged boys

participating in athletics, empowered other perpetrators to commit such acts, and supported the

continuation of a culture of sexual violence at GISD. To be clear, the perpetrators were not

engaging in “hazing” behavior – they were committing sexual assault.

110.    Moreover, by combining multiple sexual assaults into a single category–i.e. hazing—GISD

administrators sought to avoid their own discomfort generated by the thought of repeated same-


11
   In 2014, at the request of the Department of Defense Sexual Assault Prevention and Response Office, the RAND
National Defense Research Institute conducted an independent assessment of the rates of sexual assault, sexual
harassment, and gender discrimination in the military and found that, inter alia, men who are sexually assaulted are
more likely than women to experience multiple assaults and to describe an event as hazing or intended to abuse or
humiliate. See Morral, Andrew R., Kristie L. Gore, and Terry L. Schell, eds., Sexual Assault and Sexual Harassment
in the U.S. Military: Volume 2. Estimates for Department of Defense Service Members from the 2014 RAND Military
Workplace             Study.           Santa         Monica,            CA:           RAND             Corporation,
2015https://www.rand.org/pubs/research_reports/RR870z2-1.html. Also available in print form.


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sex, male-on-male, violent sexual assault. However, GISD administrators’ discomfort does not

absolve them of their failures in this regard.

111.    GISD failed to train GISD administrators and staff regarding appropriate response to

allegations of male-on-male sexual harassment and sexual assault. This failure to train is evidenced

by the fact that the designated Title IX Coordinator was unaware of such designation, the

mischaracterization of the sexual assaults as “hazing”, and GISD administrators’ and staff’s

obvious lack of knowledge regarding the prohibition of retaliatory acts in response to assertions of

an individual’s rights under Title IX and the U.S. Constitution.

H.      Injuries & Damages

112.    The sexual harassment and sexual assaults and GISD’s inappropriate response thereto

negatively affected and continues to negatively affect T.F.

113.    Being part of a school athletic team, supporting his school, and maintaining a sense of

school pride are extremely important to T.F. Over the years, T.F. has played multiple sports at

GISD, and he takes quite seriously and is honored by the fact that these athletic undertakings

designate him as a GISD representative. T.F. endeavored to represent GISD with love, pride, and

dignity, and he anticipated GISD administrators would support him if and when the time came that

he needed their support.

114.    But when the time came – i.e. when T.F. was repeatedly and violently sexually assaulted

at school and school sponsored events – GISD administrators did not support T.F. Quite the

opposite, in fact – they told T.F. not to talk about the sexual assaults in order to preserve GISD’s

reputation and did nothing to protect T.F. or remediate the effects of the sexual assaults on T.F.




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115.    Due to GISD’s failures as set forth herein, T.F. feels hurt and betrayed. His ability to trust

adults – especially GISD authority figures – was seriously damaged. In addition, T.F. fears

additional retaliation from GISD administrators, school resource officers, and even his coaches.

116.    Due to GISD’s failures as set forth herein, T.F. felt and continues to feel unprotected,

unsupported, and unsafe at school. T.F. is afraid that he will be sexually assaulted again at school

in GISD.

117.    Due to GISD’s failures as set forth herein, T.F. suffered from and continues to suffer from

shame, fear of people, lack of trust in authority figures, anxiety, and depression. In addition, T.F.’s

mood changed significantly – he became withdrawn, quiet, and far less expressive and jovial.

118.    In addition, GISD retaliated against T.F., Ted F., and Leah F. for asserting their rights under

Title IX by purposefully discontinuing their business relationship with Athletic Supply, Inc. Such

retaliatory acts caused monetary damages to Plaintiffs.

I.      Additional Facts Regarding Knowledge and Pattern & Practice

119.    During the 2017-2018 school year – the school year directly preceding the school year in

which T.F. was sexually assaulted, the main perpetrator incessantly and aggressively bullied

former GISD student K.A.

120.    The main perpetrator called K.A. names and would slap K.A.’s forehead, the back of his

neck, and his head. In addition, the main perpetrator thumped K.A.’s ears so hard that K.A. would

have bruises.

121.    In the fall semester of the 2017-2018 school year, K.A. told his teachers about the constant

bullying, but he was dismissed and told to sit down. His teachers did nothing to stop the bullying.

122.    The same semester, K.A reported the bullying to Coach Thomas, the head of athletics at

the middle school. Coach Thomas assured K.A. that he would handle the issue. But he did nothing.



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123.      When the bullying did not stop, K.A. approached Coach Thomas again. But the bullying

continued.

124.      In or about the spring semester of the 2017-2018 school year, K.A.’s father spoke with

Assistant Principal (AP) Jayme Tedder about the bullying. But AP Tedder never followed up with

K.A.’s father regarding the bullying, and the bullying continued.

125.      K.A. also reported the bullying to one of his teachers through a message via an online

learning platform utilized by the school. Again, nothing was done, and the bullying continued.

126.      Exasperated, K.A.’s mother sought the advice of a friend who was also a current or former

GISD employee. The friend told K.A.’s mother that when teachers report bullying to GISD

administrators, such reports are ignored.

127.      The bullying progressively intensified and worsened, and it caused damages and injuries

to K.A.

128.      K.A.’s parents withdrew him from GISD in or about August 2018 before his 8th grade year

because of the bullying and GISD’s failure to stop it.

                                        VII. STATE ACTION

129.      Plaintiffs incorporate by reference all the above-related and below-related paragraphs with

the same force and effect as if herein set forth fully.

130.      GISD representatives, in any official and individual capacities and in all matters, were

acting under color of state law when they subjected T.F. to the wrongs and injuries set forth herein.

                                           VIII. TITLE IX
                                   ●
                                       CLAIMS AGAINST GISD ●

131.      Plaintiffs incorporate by reference all the above-related and below-related paragraphs with

the same force and effect as if herein set forth fully.




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132.    Title IX of the Education Amendments of 1972 (Title IX), 86 Stat. 373, as amended, 20

U.S.C. § 1681 et seq., (“Title IX”) provides that a public entity may be liable under Title IX for

discrimination based upon sex, gender, or gender stereotypes.

133.    To maintain a cause of action under Title IX, the claimant must be a member of a protected

class; must be treated differently because of membership in that class; the defendant entity must

be on notice of the allegations; the defendant entity must be deliberately indifferent to those

allegations; and the claimant must have experienced a deprivation of educational opportunities

and/or other damages.

134.    T.F. easily satisfies all these threshold requirements and seeks recovery accordingly.

135.    Plaintiffs further contend that GISD’s failure to have effective policies, procedures,

practices, and customs in place to assure T.F. was not a victim of bullying, harassment, or assault

based upon sex, gender, or gender stereotypes violated T.F.’s rights pursuant to Title IX of the

Education Amendments of 1972 (Title IX), 86 Stat. 373, as amended, 20 U.S.C. §1681 et seq.,

upon which T.F. now seeks recovery.

136.    In addition, T.F. has a private cause of action against GISD for violation of the rules and

regulations promulgated pursuant to Title IX.

137.    GISD’s failures caused injuries to Plaintiffs.

                                  IX. TITLE IX – RETALIATION
                                   ●
                                     CLAIMS AGAINST GISD ●

138.    Plaintiffs incorporate by reference all the above-related and below-related paragraphs with

the same force and effect as if herein set forth fully.

139.    In addition to their causes of action on behalf of T.F. under Title IX, Ted F. and Leah F.

bring causes of action against GISD for retaliation under Title IX both on behalf of T.F. as well as

in their individual capacities.


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140.     As noted by the 5th Circuit, the courts clearly recognize retaliation claims under Title IX in

response to reports of sexual harassment. 12 Specifically, Title IX incorporates the retaliation

language of Title VI: “No recipient or other person shall intimidate, threaten, coerce, or

discriminate against any individual for the purpose of interfering with any right or privilege

secured by” Title IX.13

141.     The U.S. Supreme Court held that “retaliation against individuals because they complain

of sex discrimination is ‘intentional conduct that violates the clear terms of [Title IX].’”14

142.     Additionally, the U.S. Supreme Court held that Title IX “does not require that the victim

of the retaliation must also be the victim of the discrimination that is the subject of the original

complaint.”15 Accordingly, Ted F. and Leah F. have individual causes of action against GISD for

retaliation under Title IX.

143.     To maintain a cause of action for retaliation under Title IX, the plaintiff must establish a

prima facie case for same by showing: (1) a protected activity by the plaintiff; (2) knowledge by

the defendant of the protected activity; (3) adverse school-related action; and (4) a causal

connection between the protected activity and the adverse action.16

144.     T.F., Ted F., and Leah F. easily satisfy the threshold requirements for a prima facie

showing of retaliation under Title IX and seek recovery accordingly.

145.     Specifically, GISD retaliated against Plaintiffs F. for asserting protected rights under Title

IX by purposefully discontinuing their business relationship with Athletic Supply, Inc., including


12
   Sanches v. Carrollton-Farmers Branch Indep. Sch. Dist., 647 F.3d 156, 170 (5th Cir. 2011).
13
   34 CFR 100.7(e) (Title VI retaliation prohibition); 34 CFR 106.71 (Title IX; incorporating the retaliation language
of Title VI regulations).
14
   Jackson v. Birmingham Bd. of Educ., 544 U.S. 183, 125 S. Ct. 1497, 161 L. Ed. 2d 361 (2005) (quoting Davis, 526
U.S. at 642, 119 S. Ct. 1661.)
15
   Jackson v. Birmingham Bd. of Educ., 544 U.S. 183 (2005).
16
   See Quinn v. Green Tree Credit Corp., 159 F.3d 759, 769 (2d Cir.1998); see also Papelino v. Albany Coll. of
Pharmacy of Union Univ., 633 F.3d 81, 91 (2d Cir. 2011); 34 C.F.R. §106.71 (“The procedural provisions applicable
to title VI of the Civil Rights Act of 1964 are hereby adopted and incorporated herein by reference.”).

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the discontinuation of equipment purchases. Such retaliatory acts caused monetary damages to

Plaintiffs.

146.    Plaintiffs further contend that GISD committed retaliatory acts in violation of Title IX

based on GISD representatives’ directives to T.F. to refrain from discussing the sexual assaults.

147.    GISD’ failures caused injuries to Plaintiffs.

       X. EQUAL PROTECTION CLAUSE OF THE FOURTEENTH AMENDMENT
                         ●
                           CLAIMS AGAINST GISD ●

148.    Plaintiffs incorporate by reference all the above-related and below-related paragraphs with

the same force and effect as if herein set forth fully.

149.    Plaintiffs contend, in addition and in the alternative to the above, that the acts and omissions

of GISD violated the rights of Plaintiffs pursuant to the 14th Amendment of the Constitution of the

United States for which Plaintiffs seek recovery pursuant to 42 U.S.C. §1983, because such acts

and omissions violated T.F.’s right to family integrity, life, liberty, and the pursuit of happiness.

150.    In addition, pursuant to the Open Courts provision of the Texas Constitution, Article I,

Section 13, Plaintiffs have the right to an “Open Court” to which they may seek remedies to the

acts and omissions of GISD as noted herein, pursuant to 42 U.S.C. §1983.

151.    The U.S. Constitution provides that no state shall deny any person within its jurisdiction

equal protection of the law.

152.    GISD’s acts and omissions violated Plaintiffs’ rights under the Equal Protection Clause of

the 14th Amendment. As such, T.F. was a victim of discrimination as a class-of-one as

contemplated by the Equal Protection Clause of the 14th Amendment for which Plaintiffs seek

recovery pursuant to 42 U.S.C. §1983.

153.    During the relevant time period contemplated by this cause of action, GISD had an actual

policy, practice, and custom of conscious and deliberate indifference to federal law, federal and


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state administrative directives, and GISD policies and procedures in regard to the treatment of

T.F., and such failures were a moving force in the injuries to T.F. for which Plaintiffs seek recovery

pursuant to 42 U.S.C. §1983.

154.    Specifically, GISD had a custom and practice of refusing to fulfill the requisites of Title

IX Jurisprudence and failing to investigate allegations of bullying and harassment after receiving

complaints that such actions were based upon sex or gender.

155.    In addition, the GISD school board failed to correctly supervise staff regarding laws,

regulations, and directives as noted above. Such failures rise to the level of a separate violation of

the 14th Amendment of the Constitution of the United States for which Plaintiffs seek recovery

pursuant to 42 U.S.C. §1983.

156.    Additionally, the GISD School Board failed to train GISD administrators, employees, and

other staff regarding laws, regulations and directives as noted herein. Such failures rise to the level

of a separate violation of the 14th Amendment of the Constitution of the United States for which

Plaintiffs seek recovery pursuant to 42 U.S.C. §1983.

157.    GISD’s failure to appropriately train GISD administrators, employees, and other staff

regarding appropriate methods to address complaints of discrimination based upon sex and – in

particular - male on male sexual assault and sexual violence violates the Equal Protection Clause

of the 14th Amendment. The need for and lack of such training is quite obvious given that the GISD

Superintendent and designated Title IX Coordinator was uncertain as to whether he was in fact the

designated Title IX Coordinator.

158.    Plaintiffs further contend that GISD had an actual policy, custom, or practice of

concealment of sexual violence at GISD – particularity male on male sexual violence, which is




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demonstrated by the pattern of attempted concealment of the repeated sexual assaults of T.F. and

several other members of the GISD boys’ basketball team.

159.     As set forth more fully above, from the beginning, GISD administrators repeatedly

attempted to minimize and conceal the sexual assaults. GISD forbade T.F. and other members of

the GISD boys basketball team from speaking about the sexual assaults on multiple occasions,

attempted to circumvent their duty to make a police report, reported inaccurate and incomplete

information to law enforcement, failed to report the assaults to DFPS, failed to conduct a Title IX

investigation and otherwise comply with the requirements of Title IX, failed to take appropriate

actions to remediate the effects of the sexual assaults to T.F., failed to take appropriate actions to

prevent future sexual assaults, and even retaliated against T.F. and his parents for asserting

violations of their constitutionally protected rights.

160.     Plaintiffs further contend that GISD had an actual policy, custom, or practice of

minimization and trivialization of male-on-male sexual violence at GISD.

161.     Because the sexual assaults were perpetrated by male students on a male student, GISD

administrators repeatedly characterized the multiple sexual assaults collectively as “hazing” in an

attempt to sterilize and minimize the egregious nature of the sexual assaults. This

mischaracterization served not only to undermine the trauma suffered by T.F. but discriminated

against T.F. based on sex in violation of the Equal Protection Clause.17

162.     Moreover, as evidenced by the fact that the wife of a GISD school board member

approached Leah F. and openly minimized the sexual assaults by commenting “boys will be boys”,


17
  The OCR specifically advised that the label ascribed to an incident - such as bullying, hazing, or teasing – does not
determine the school’s required response. The OCR explained that schools must assess the nature of the conduct for
civil rights implications - including those related to discrimination based on sex – and respond in accordance with
applicable federal civil rights statutes and regulations. The OCR explained that “by limiting its response to a specific
application of its anti-bullying disciplinary policy, a school may fail to properly consider whether the student
misconduct also results in discriminatory harassment.” Dear Colleague Letter: Harassment and Bullying (2010):
https://www2.ed.gov/about/offices/list/ocr/letters/colleague-201010.html

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the GISD school board itself trivialized the sexual assaults because they were male-on-male sexual

assaults, thereby discriminating against T.F. based on his sex.

163.    Plaintiffs further contend that GISD’s failure to have effective policies, procedures,

practices, and customs in place to protect T.F. violated his rights pursuant to the Equal Protection

Clause of the 14th Amendment of the Constitution of the United States for which Plaintiffs seek

recovery pursuant to 42 U.S.C. §1983.

164.    Plaintiffs further contend that GISD had an actual policy, custom, or practice of permitting

the boys basketball team members excessive time without adult supervision, thereby precipitating

the sexual assaults.

165.    Plaintiffs further contend that Superintendent Elliot is a policymaker for purposes of the

Equal Protection Clause and 42 U.S.C. §1983, because the GISD school board delegated certain

policy-making power to Superintendent Elliot. Such delegation of power is evidenced by the fact

that Superintendent Elliot was also appointed as the GISD Title IX coordinator.

166.    Specifically, Plaintiffs contend that Superintendent Elliot’s dual roles as GISD

Superintendent and GISD Title IX Coordinator presented a conflict of interest18 and afforded

Superintendent Elliot unchecked autonomy and a monopoly of power concerning decisions related

to discrimination based on sex. Specifically, as superintendent, Superintendent Elliot’s obvious

primary concern was to conceal the sexual assaults, which directly conflicts with his duties and

obligations as the GISD Title IX Coordinator.

167.    Plaintiffs further contend that the GISD school board is a policymaker for purposes of the

Equal Protection Clause and 42 U.S.C. §1983.


18
   The OCR has cautioned that “designating a . . . superintendent, principal, or athletics director as the Title IX
coordinator may pose a conflict of interest.” Dear Colleague Letter (April 24, 2015
https://www2.ed.gov/about/offices/list/ocr/letters/colleague-201504-title-ix-coordinators.pdf.


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168.    In addition, GISD’s acts and omissions discriminated against T.F. by treating him in a

disparate manner as compared to other students similarly situated, thereby violating his rights

pursuant to the Equal Protection Clause of the 14th Amendment, for which Plaintiffs seek recovery

pursuant to 42 U.S.C. §1983 and 1988.

169.    GISD’s acts and omissions caused injuries and damages to Plaintiffs.

                XI. RETALIATION UNDER EQUAL PROTECTION CLAUSE
                             ●
                               CLAIMS AGAINST GISD ●

170.    Plaintiffs incorporate by reference all the above-related and below-related paragraphs with

the same force and effect as if herein set forth fully.

171.    In addition to their causes of action on behalf of T.F. for violations of the Equal Protection

Clause of the 14th Amendment of the Constitution of the United States pursuant to 42 U.S.C.

§1983, Ted F. and Leah F. bring causes of action against GISD for retaliation under the Equal

Protection Clause both on behalf of T.F. as well as in their individual capacities.

172.    Specifically, Plaintiffs contend that GISD retaliated against Plaintiffs for asserting their

rights under the 14th Amendment of the Constitution of the United States pursuant to 42 U.S.C.

§1983 by discontinuing the longstanding business relationship between GISD and Athletic Supply,

Inc. Plaintiffs contend that such retaliatory acts violate the Equal Protection Clause.

173.    Plaintiffs further contend that GISD committed retaliatory acts in violation of the Equal

Protection Clause based on GISD representatives’ directives to T.F. to refrain from discussing the

sexual assaults.

174.    GISD’s acts and omissions caused injuries and damages to Plaintiffs.




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       XII. EQUAL PROTECTION CLAUSE OF THE FOURTEENTH AMENDMENT
                  ●
                    CLAIMS AGAINST SUPERINTENDENT ELLIOT ●

175.    Plaintiffs incorporate by reference all paragraphs above and below with the same force and

effect as if herein set forth fully.

176.    At all times pertinent hereto, Defendant Edward Ariel Elliot was acting in his capacity as

an employee of GISD and thus acting under the color of the law. Superintendent Elliot’s acts and

omissions caused injuries and Constitutional deprivations to T.F. and are enforceable pursuant to

42 U.S.C. § 1983.

177.    Specifically, and at all times relevant hereto, T.F. possessed both substantive and

procedural due process rights including - but not limited to - a liberty interest in his bodily integrity

and privacy which Superintendent Elliot violated through his acts and omissions.

178.    In addition, Superintendent Elliot violated T.F.’s civil rights pursuant to the Equal

Protection Clause of 14th Amendment to the U.S. Constitution because he treated him differently

and discriminated against him based upon his sex.

179.    Superintendent Elliot’s acts and omissions caused injuries and damages to Plaintiffs.

               XIII. RETALIATION UNDER EQUAL PROTECTION CLAUSE
                     ●
                       CLAIMS AGAINST SUPERINTENDENT ELLIOT ●

180.    Plaintiffs incorporate by reference all the above-related and below-related paragraphs with

the same force and effect as if herein set forth fully.

181.    In addition to their causes of action on behalf of T.F. for violations of the Equal Protection

Clause of the 14th Amendment of the Constitution of the United States pursuant to 42 U.S.C.

§1983, Ted F. and Leah F. bring causes of action against Superintendent Elliot for retaliation under

the Equal Protection Clause both on behalf of T.F. as well as in their individual capacities.




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182.      Specifically, Plaintiffs contend that Superintendent Elliot retaliated against Plaintiffs for

asserting their rights under the 14th Amendment of the Constitution of the United States pursuant

to 42 U.S.C. §1983 by discontinuing the longstanding business relationship between GISD and

Athletic Supply, Inc. Plaintiffs contend that such retaliatory acts violate the Equal Protection

Clause.

183.      Superintendent Elliot’s acts and omissions caused injuries and damages to Plaintiffs.

                                XIV. FIRST AMENDMENT
                 ●
                     CLAIMS AGAINST GISD & SUPERINTENDENT ELLIOT ●

184.      Plaintiffs incorporate by reference all paragraphs above and below with the same force

and effect as if herein set forth fully.

185.      Specifically, Ted F. and Leah F. assert causes of action on behalf of T.F. as well as in their

individual capacities for retaliation by GISD and Superintendent Elliot under the 1st Amendment

of the Constitution of the United States, for which Plaintiffs seek recovery pursuant to 42 U.S.C.

§1983.

186.      Plaintiffs contend that GISD and Superintendent Elliot violated Plaintiffs’ rights’ pursuant

to the 1st Amendment of the Constitution of the United States for which Plaintiffs seek recovery

pursuant to 42 U.S.C. §1983 and §1988 by retaliating against them for advocating on behalf of

their rights and complaining about the failures of GISD by discontinuing the longstanding business

relationship between GISD and Athletic Supply, Inc.

187.      Plaintiffs further contend that GISD committed retaliatory acts in violation of the 1st

Amendment of the Constitution of the United States based on GISD representatives’ directives to

T.F. to refrain from discussing the sexual assaults.

188.      GISD’s and Superintendent Elliot’s acts and omissions caused injuries and damages to

Plaintiffs.


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                       XV. RATIFICATION & RESPONDEAT SUPERIOR

189.     Plaintiffs incorporate by reference all the above-related and below-related paragraphs with

the same force and effect as if herein set forth fully.

190.     GISD ratified the acts, omissions, and customs of GISD administrators, personnel, and

staff.

191.     GISD ratified the acts, omissions, and customs of the GISD Police Department personnel

and staff.

192.     The GISD Police Department ratified the acts, omissions, and customs of GISD Police

Department personnel and staff.

193.     As a result, GISD is responsible for the acts and omissions of personnel and staff who were

otherwise responsible for the safety of T.F.

                                   XVI. PROXIMATE CAUSE

194.     Plaintiffs incorporate by reference all the above-related and below-related paragraphs with

the same force and effect as if herein set forth fully.

195.     All of the foregoing acts and omissions of GISD, both separately and/or collectively, jointly

and/or severally, whether in an official capacity or individual capacity, constitute a direct and

proximate cause of the injuries and damages set forth herein.

                                       XVII. SPOLIATION

196.     Plaintiffs incorporate by reference all the above-related and below-related paragraphs with

the same force and effect as if herein set forth fully.

197.     Plaintiffs hereby require and demand that GISD preserve and maintain all evidence

pertaining to any claim or defense related to the sexual harassment and sexual assaults or other

violations and factual allegations made the bases of this Complaint and the damages resulting



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therefrom, including statements, photographs, videotapes, audiotapes, surveillance, security tapes,

business or medical records, incident reports, telephone records, emails, text messages, electronic

data/information, and any other evidence regarding the sexual harassment/sexual assaults and

other violations and facts set forth herein.

198.    Failure to maintain such items will constitute “spoliation” of evidence, which will

necessitate use of the spoliation interference rule—an inference or presumption that any negligent

or intentional destruction of evidence was done because the evidence was unfavorable to the

spoliator’s case.

199.    In addition, pursuant to GISD’s own policies and procedures, GISD is required to retain

copies of allegations, investigation reports, and related records regarding any prohibited conduct

in accordance with GISD’s records retention schedules, but for no less than the minimum amount

of time required by law.

                                         XVIII. DAMAGES

200.    Plaintiffs incorporate by reference all the above-related and below-related paragraphs with

the same force and effect as if herein set forth fully.

201.    As a direct and proximate result of GISD’s and Defendant Elliot’s failures, Plaintiffs

suffered injuries and damages for which they are entitled to recover, including - but not limited to:

        a.       Loss of educational opportunities;

        b.       Physical pain in the past and in the future;

        c.       Medical expenses in the past and in the future;

        d.       Mental anguish in the past and in the future;

        e.       Mental health expenses in the past and in the future;

        f.       Physical impairment in the past and in the future;



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          g.     Lost income and other economic loss in the past and in the future; and

          h.     Various out-of-pocket expenses incurred by Plaintiffs due to the acts and

                 omissions of GISD.

                                       XIX. PUNITIVE DAMAGES

202.      Plaintiffs incorporate by reference all the above-related and below-related paragraphs with

the same force and effect as if herein set forth fully.

203.      Plaintiffs reasonably believe the acts and omissions of GISD satisfy criteria for violation

of civil rights and discrimination as contemplated by Section 1983 because the facts shock the

conscience.

204.      With respect to Title IX claims for punitive damages, the 11th Circuit noted that the

longstanding general rule is, absent clear direction to the contrary by Congress, the federal courts

have the power to award any appropriate relief for a cause of action under a federal statute.19 The

11th Circuit further held that congress did not intend to limit the remedies available in a Title IX

suit.20

205.      As such, Plaintiffs seek punitive damages.

                                         XX. ATTORNEYS’ FEES

206.      Plaintiffs incorporate by reference all the above-related and below-related paragraphs with

the same force and effect as if herein set forth fully.

207.      It was necessary for Plaintiffs to retain the undersigned attorney to file this lawsuit. Upon

judgment, Plaintiffs are entitled to an award of attorneys’ fees and costs pursuant to 42 U.S.C.




19
   Franklin v. Gwinnet County Public Schools, et al., 503 U.S. 60 (1992) (citing Bell v. Hood, 327 U. S. 678 (1946);
also citing Davis v. Passman, 442 U. S. 228 (1979).
20
   Id.


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§1983 and 1988, the 14th Amendment, the 1st Amendment, and 20 U.S.C. § 1681 et seq., (Title

IX).

                                 XXI. DEMAND FOR JURY TRIAL

208.    Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a jury trial for all

issues in this matter.

                                        XXII. PRAYER

209.    Plaintiffs pray for judgment against GISD and Defendant Elliot in the manner and

particulars noted above, to include an amount sufficient to fully compensate them for damages

suffered by them, a judgment for damages, recovery of attorneys’ fees and costs for the preparation

and trial of this lawsuit and appeal if required, pre-judgment and post-judgment interest, court

costs expended herein, equitable remedies, punitive damages, and such other relief as this Court

deems just and proper in law or in equity or both.

                                                     Respectfully Submitted,


                                                     _________________________
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